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AO 94 (Rev. 06/09) Commitment to Another District



                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Southern District of New York

                  United States of America                         )
                             v.                                    )
                                                                   )       Case No.   21mjQ_Q791 _____ _
                                                                   )
_ _ __ _ _            Patrick McCaugh~ _ _ _ _ _ _ _               )           Charging District's
                            Defendant                              )           Case No. ____21milll __ _

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the          _ _ _ _ __ _ _        District of      District of Columbia . ,
(if applicable)   _    _    _______                 division. The defendant may need an interpreter for this language:



          The defendant:        D     will retain an attorney.
                                !ZI   is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant's arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:              1/20/2021
                                                                                         Judge 's signature

                                                                 _ _ _ _    Andrew E. Krause, U.S. Ma_gistrate Jud~ ____ _
                                                                                       Printed name and title
